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                                                                           11/16/2021
UNITED STATES DISTRICT COURT SOUTHERN
DISTRICT OF NEW YORK
                                                  17-CV-2987 (JPO) (KHP)
LUIS RAMIRO AVILES, et al.,


                        -v-

S&P GLOBAL, INC., et al.,


FERNANDO RAUL BENEDETTO, et                       17-CV-6087 (JPO) (KHP)
al.,


                        -v-

ATC REALTY FIFTEEN, INC., et al.,
                                    Defendants.
                                                  17-CV-7034 (JPO) (KHP)
HORACIO NESTOR ACEBEDO, et al.,


                            -v-

ATC REALTY FIFTEEN, INC., et al.,

FREDERICO ALVAREZ, et al.,
                                                  18CV-128 (JPO) (KHP)
                            -v-

ATC REALTY FIFTEEN, INC., et al.,

HECTOR JORGE ARECO, et al.,
                                                  18-CV-2416 (JPO) (KHP)
                            -v-

ATC REALTY FIFTEEN, INC., et al.,
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          ORDER SCHEDULING TELEPHONIC CASE MANAGEMENT CONFERNCES

                A series of telephonic Case Management conferences in this matter are hereby

scheduled for the following dates. The parties shall file a joint status letter that includes

agenda items three business days in advance of each conference. The letters shall be no

more than five pages in length. Counsel is directed to call into the court conference line at the

scheduled times. Please dial (866) 434-5269 Code: 4858267.

       Wednesday, December 15, 2021 at 4:00 p.m.

       Thursday, January 20, 2022 at 12:00 p.m.

       Thursday, February 17, 2022 at 10:00 a.m.

       Thursday, March 17, 2022 at 10:00 a.m.

       Thursday, April 14, 2022 at 10:00 a.m.

       Thursday, May 19, 2022 at 10:00 a.m.

       Thursday, June 9, 2022 at 10:00 a.m.

       Thursday, July 14, 2022 at 10:00 a.m.

       SO ORDERED.

DATED:         New York, New York
               November 16, 2021

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                                                     KATHARINE H. PARKER
                                                     United States Magistrate Judge
